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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,
                                             Case No. 21-cr-20184
                   Plaintiff,
                                             Hon. MATTHEW F. LEITMAN
v.                                           United States District Judge

D-1 MICHAEL FRALEY. Jr.,
             Defendant



             United States’ Supplemental Response to Defendant’s
                      Motion to Revoke Detention Order




      The United States opposes defendant Michael Fraley’s motion for pretrial

release because he poses a danger to the community and has failed to rebut the

presumption in favor of detention. Undeterred by dozens of custodial sentences,

Fraley distributed about 25 grams of crystal methamphetamine during a controlled

buy here. In doing so, he violated a bond condition in another drug-trafficking case

and committed this offense one week after his discharge from parole in yet another

case. Consistent with the rebuttable presumption of detention, the Pretrial Services

recommendation, and the Magistrate’s detention order, Fraley should be detained

pending trial.
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I.    Procedural Background

      A grand jury indicted Fraley for distributing five grams or more of

methamphetamine this past December. (ECF No. 1, PageID.1-3). On March 23,

2021, the magistrate held a detention hearing and ordered Fraley detained pending

trial. (ECF No. 23, PageID.41). The Magistrate found that Fraley not only failed to

rebut the presumption of detention, but also that no conditions could reasonably

assure his appearance or protect the community. Id. The factors the Magistrate

emphasized included Fraley’s extensive criminal history, his recent discharge from

parole, his commission of this offense while on bond in a state-court drug case, his

earlier violation of parole involving tampering with a tether, his substance abuse,

his gang membership, and his lack of stable employment. Id. Fraley sought review

of his bond status and requested pretrial release. (ECF No. 36, PageID.78). The

United States responded to Fraley’s motion. (ECF No. 40, PageID.90-128.) After

the Court held a hearing, Fraley supplemented his request for release. (ECF No. 48,

PageID.143-149.) The United States relies on its original response (ECF No. 40)

and this supplemental brief.

II.   Analysis

      A.     Fraley’s History and Characteristics.

      Fraley’s criminal history is far worse than previously described. The United

States’ original response relied on the pretrial services report for Fraley’s criminal


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history. (ECF No. 40, PageID.94-95.) To summarize that history, the United states

included the following table:

  Year of               Charges                           Disposition
 Conviction
   2003     1. Simple Assault                  Guilty of Count 2; Count 1 was
            2. Injury to Real Property         dismissed. 30 days jail with 1
                                               year of probation.
    2003       1. Drunk Driving                Guilty of both counts; 1 year
               2. Operating without license    probation.
    2003       1. Aggravated Domestic          Guilty of both counts; 3 years’
               Violence                        probation.
               2. Resisting a police officer
    2007       1. Retail Fraud – 3rd           Guilty; fine.

    2007       1. Retail Fraud – 2nd           Guilty; 34 days jail.

    2008       1. Retail Fraud – 2nd           Guilty; 150 days jail.

    2008       1. Felony larceny from a        Guilty; 1 year in prison.
               motor vehicle
    2008       1. Receiving & Concealing a     Guilty of both counts; 18 to 120
               motor vehicle;                  months in prison.
               2. Larceny from a person
    2009       1. Felony Retail Fraud – 1st    Guilty; 15 to 90 months in prison.
                                               Discharged from parole on
                                               Nov. 23, 2020.
    2012       1. Retail Fraud – 3rd           Guilty; 90 days jail.

    2016       1. Check – insufficient funds   Guilty; 335 days in jail.
               $100 - $500
    2017       1. Tampering with Electronic    Guilty; 18 to 36 months in prison.
               Monitoring Device               Discharged from parole on
                                               Nov. 23, 2020.
    2019       1. Resisting a police officer   Guilty; 11 months in jail.




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      Since then, the United States received a state presentence report for his most

recent conviction for tampering with an electronic monitoring device. (Ex. 1: PSR)

(filed under seal). It reveals a much more extensive criminal history. From a broad

perspective, Fraley “has amassed 9 felony and 35 prior misdemeanor convictions.

He has served 27 county jail terms, four terms with the Michigan Department of

Corrections and failed at community supervision both on probation and parole.”

(Id. at 1). His state presentence report identifies five convictions for assault and

battery that were not included in the pretrial services report. (Id. at 6-7, 9-10). In

one case he struck his ex-girlfriend “in the back of the head, causing injury.” (Id. at

9). The state presentence report also shows assaultive conduct as a juvenile, and

numerous violations of probation or parole. (Id. at 5-9, 22). And the problems for

Fraley do not end there.

      As for the tampering offense itself, Fraley was paroled on September 19,

2018. (Id. at 3). Two weeks later, he tested positive for using cocaine and

methamphetamine. (Id.). He then failed to report to the probation office as

scheduled on October 9, 2018. (Id.). He simultaneously failed to charge the battery

on this tether and absconded. (Id.). He was in the wind for over two weeks before

the state police arrested him. (Id.). His encore performance to these violations was

to abscond yet again—after he was dropped off at the parole office on December 3,

2018. (Id.). A few weeks later, on Christmas, he ran from the police during a traffic


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stop and “was apprehended several houses away after being held down by several

neighborhood residents.” (Id.).

      As if all this were not overwhelming enough, he was on parole for

committing this same offense—tampering with an electronic monitoring device—

two years earlier. (Ex. 1: PSR, at 1). On December 8, 2016, he “cut his tether

off[.]” and absconded. (ECF No. 40, PageID.102.) He did this after failing to

charge his tether about three weeks earlier. (Id.). And this was not even the first

time Fraley unlawfully removed his tether: On May 23, 2013, “Parolee Fraley cut

his tether and absconded from supervision.” (Id.). His unrelenting criminal activity

shows that he is not deterred by the consequences that the criminal justice system

metes out and there are no conditions that can reasonably assure public safety or

his appearance.

      B.     Fraley cannot be trusted to follow conditions of pretrial release.

      Committing crimes while on parole expresses an unwillingness or inability

to follow terms of supervision. This aspect of Fraley’s character dooms his claim

that he can be trusted to follow pretrial release conditions. Neither a tether nor a

job mitigates the risk that Fraley will continue to commit crimes if released. Fraley

posits that the “ultimate question becomes can the person presently before the

court be trusted[.]” (ECF No. 48, PageID.146.) Fraley’s “9 felony and 35 prior

misdemeanor convictions”; his 27 county jail terms; his 4 prison terms; his


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numerous violations of parole and probation; his recent, serial violations of a

tether; his recent violation of bond conditions; and his serious methamphetamine

addiction emphatically show that he cannot be trusted.

      The opinion of a jail employee (ECF No. 48, PageID.147.) does not

overcome the § 3142(g) factors that weigh in favor of detention. In support of his

claim that he is now trustworthy, Fraley suggests that the “best answer” to the trust

question “can only be answered by the persons [who have been monitoring him in

jail].” (ECF No. 48, PageID.146.) This argument misfires in two directions. First,

the Bail Reform Act does not direct the Court to give greater weight to the

opinions of jail employees about a defendant’s post-incarceration conduct. Rather,

it requires the Court to consider the factors set forth in 18 U.S.C. § 3142(g), none

of which specify post-incarceration conduct as a factor. Second, this suggested

approach is non-sensical because it completely ignores a defendant’s criminal

history, prior performance under terms of supervision while in the community, the

nature of his offense, and many other important considerations that courts routinely

evaluate. Fraley’s behavior while in the community, whether on probation or not,

offers much more meaningful evidence to assess his “trustworthiness” than does

his behavior while in jail, where he lacks the opportunity to commit certain crimes.

For example, in jail he cannot assault his girlfriend, cut his tether off, steal from a

store, drive drunk, distribute methamphetamine, etc. Even without opportunity,


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Fraley has still managed to engage in misconduct while in custody. In 2017–2018,

he incurred “11 misconducts while incarcerated (7 for destruction or misuse of

property, 3 for interference with administration of rules and 1 for possession of

dangerous contraband.” (Ex. 1: PSR, at 22).

       Fraley is now 40 years old and his criminal convictions exceed that number.

He has been committing crimes on a recurring basis for over 20 years now. His

history and characteristics overwhelmingly show that his behavior will not be

constrained by a job or anything else. If parole conditions, bond conditions, tethers,

and over 30 custodial sentences have not deterred him from committing more

crimes, then it is unreasonable to conclude that a job will magically do the trick

now.




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III.   Conclusion

       Consistent with the rebuttable presumption of detention, the Pretrial Services

recommendation of detention, the government’s recommendation of detention, the

Magistrate’s order of detention, and considering the § 3142(g) factors, the Court

should deny Fraley’s motion to revoke the detention order.


                                       Respectfully submitted,

                                       SAIMA S. MOHSIN
                                       Acting United States Attorney


Dated: July 22, 2021                   s/BLAINE LONGSWORTH
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                         CERTIFICATION OF SERVICE

      I hereby certify that on, July 22, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will

electronically serve all ECF participants.



                                                 s/Jessica Stanton
                                                 United States Attorney’s Office




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